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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA

In re:                                           )
                                                 )
JUDITH DARLENE SNOW,                             )        Case No. 18-14846-JDL
                                                 )        Chapter 13
              Debtor.                            )
                                                 )

    DEBTOR’S MOTION IN LIMINE TO EXCLUDE UNDISCLOSED WITNESSES,
     BRIEF IN SUPPORT, AND NOTICE AND OPPORTUNITY FOR HEARING

                          NOTICE OF OPPORTUNITY FOR HEARING
         Your rights may be affected. You should read this document carefully and
         consult your attorney about your rights and the effect of this document. If
         you do not want the Court to sustain the objection, or you wish to have your
         views considered, you must file a written response to the objection with the Clerk
         of the United States Bankruptcy Court for the Western District of Oklahoma, 215
         Dean A. McGee Avenue, Oklahoma City, OK 73102 no later than 14 days from
         the date of filing of the objection. You should also serve a filestamped copy of the
         response to the undersigned [and others who are required to be served] and file a
         certificate of service with the court. If no response is timely filed, the court may
         sustain the objection and strike the scheduled hearing without further notice.

                                    NOTICE OF HEARING
                          (TO BE HELD IF A RESPONSE IS FILED)
         Notice is hereby given that if a response to the Motion is filed, the hearing on
         the matter will be held on March 12, 2019, at 9:45 a.m. in the 2nd floor
         courtroom of the United States Bankruptcy Court for the Western District of
         Oklahoma, 215 Dean A. McGee Avenue, Oklahoma City, OK 73102. If no
         response is timely filed and the court grants the requested relief prior to the
         above-referenced hearing date, the hearing will be stricken from the docket
         of the Court.

         NOW COMES, Judith Snow, debtor in the above-captioned case (“Debtor”), by her

undersigned attorney of record, Jason A. Sansone, and states as follows:


         1.      On November 20, 2018, Debtor filed a voluntary petition for relief pursuant to

chapter 13 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Western District of Oklahoma [Doc. No. 1].

         2.      On February 1, 2019, Debtor filed a Motion for Determination of Fees, Expenses,
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or Charges Pursuant to Rule 3002.1(e) (the “Motion”). [Doc. No. 13].

       3.       On February 12, 2019, Quicken Loans Inc. (“Claimant”) filed a Response to the

Motion (the “Response”). [Doc. No. 17].

       4.       The Motion is set for hearing on March 12, 2019, at 9:45 a.m. in the 2nd floor

courtroom of the United States Bankruptcy Court for the Western District of Oklahoma, 215

Dean A. McGee Avenue, Oklahoma City, OK 73102 (the “Hearing”).

       5.       On February 14, 2019, Debtor filed her Notice of Witnesses and Exhibits pursuant

to Local Bankruptcy Rule 9014-1 for the Hearing. [Doc. No. 21].

       6.       On February 21, 2019, Claimant filed their Notice of Witnesses and Exhibits for

the Hearing. [Doc. No. 23].

       7.       Claimant’s witness and exhibit list proposes to call “Expert Witness(es) to be

determined.” No witnesses, including experts, are identified by name and thus no witnesses have

been disclosed to Debtor by Claimant.

       8.       Accordingly, Claimant should be limited at the Hearing to only those witnesses

timely disclosed to Debtor.


I. CLAIMANT HAS NOT COMPLIED WITH LOCAL RULE 9014-1


       9.       Fed. R. Bankr. P. 9014(e) provides that “[t]he court shall provide procedures that

enable parties to ascertain at a reasonable time before any scheduled hearing whether the hearing

will be an evidentiary hearing at which witnesses may testify.”

       10.      In compliance with Fed. R. Bankr. P. 9014(e), this Court has adopted Local Rule

9014-1 which states:

       “Unless otherwise provided in an order of the Court, any party wishing to present evidence at a scheduled
       hearing on a contested matter must file and serve on all parties in interest, pursuant to Local Rule 9007-1, a
       notice listing: a brief description of the exhibits to be offered; the names of all witnesses intended to be
       called; and an estimated length of time to present the evidence and argument. Such notice must be filed no
       later than twenty (20) days prior to the scheduled hearing date or no later than three (3) days after a notice
       of hearing is issued by the Court if the notice is issued less than twenty-three (23) days prior to the
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       scheduled hearing. Upon review of this notice, the Court may schedule a pre-hearing conference and direct
       any rules governing adversary proceedings to be applied to the matter. Presentation of exhibits is further
       subject to Local Rule 9017. Failure to comply with this Rule may result in exclusion of the evidence or
       such other sanction as the Court deems appropriate in the circumstances.” (emphasis added)

       11.     Local Rule 9014-1 was cited in the first sentence of Debtor’s Witness and Exhibit

List which was electronically served on Claimant using the CM/ECF system.

       12.     This Court has authority and discretion to enforce any provision of the Local

Rules pursuant to § 105 of the Bankruptcy Code and Local Rule 1001-(C).

       13.     However, this Court has a precedent of enforcing Local Rules. See generally In

re Russell, No. 14-13943-JDL (Bankr. W.D. Okla., 2016) (“None of the parties filed Lists of

Witnesses and Exhibits, exchanged exhibits or delivered exhibits to Chambers as required by

Local Rules 9014-1 and 9017-1; accordingly, the parties presented no evidence at hearing…);

Lonestar Geophysical Surveys, L.L.C. v. Frontier State Bank, Cypress Springs Assocs., LLC (In

re Lonestar Geophysical Surveys, L.L.C.), No. 15-11872-SAH (Bankr. W.D. Okla., 2015) (“…in

the future, any motion not in compliance with the Local Rules will be stricken.”); Se Prop.

Holdings, LLC v. Stewart (In re Stewart), No. 15-12215-JDL (Bankr. W.D. Okla., 2017)

(enforcing Local Rule 9010-1(G)(5)); In re Oliver, No. 16-10808-JDL (Bankr. W.D. Okla.,

2016) (“Documents filed with the Court which do not comply with the Local Rules… may be

stricken without notice and without time to correct the deficiency(ies) at the Court's discretion.").

       14.     Although Claimant attempted to file a place holder witness and exhibit list, the

lack of any disclosure to the Debtor defeats the purpose and spirit of Local Rule 9014-1. The

rule explicitly requires names, not catch-all phrases like “to be determined”.

       15.     In addition to Local Rule 9014-1, Fed. R. Civ. P. 37(c)(1), made applicable by

Fed. R. Bankr. P. 7037 and 9014, provides that “[i]f a party fails to provide information or

identify a witness… the party is not allowed to use that information or witness… at a hearing…

unless the failure was substantially justified or is harmless”.
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       16.     For all of the foregoing reasons, Debtor respectfully seeks an Order limiting

Claimant at the Hearing to only those witnesses timely named and disclosed to Debtor.


       WHEREFORE, it is respectfully requested that Debtor’s Motion be granted, that

Claimant be limited at the Hearing to only the witnesses timely named and disclosed to Debtor,

and for such additional or alternative relief as may be just and proper.


                                                  Respectfully Submitted,
                                                  SANSONE HOWELL PLLC

                                                  /s/ Jason A. Sansone_____________________
                                                  Jason A. Sansone, OBA No. 30913
                                                  Sansone Howell PLLC
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                                                  Email: JSansone@SansoneHowell.com
                                                  COUNSEL FOR DEBTOR
Dated: February 22, 2019


                 CERTIFICATE OF MAILING / ELECTRONIC SERVICE

       I, Jason A. Sansone, hereby certify that on February 22, 2019, a true and correct copy of
the above was electronically served using the CM/ECF system to John Hardeman, Chapter 13
Trustee, the Office of the United States Trustee, and:

Quicken Loans, Inc.
c/o Baer Timberlake, P.C.
4200 Perimeter Center, Suite 100
Oklahoma City, OK 73112


                                                  /s/ Jason A. Sansone
                                                  Jason A. Sansone, OBA 30913
